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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

In re:                                                Case No.: 20-11487-RAM
                                                      Chapter 13
         Rafael Gonzalez
         Nitza M Gonzalez
                  Debtor(s)         /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

Claim                                         Amount of
No.              Name of Claimant             Claim

17               Bank of America              $143,388.30

Basis for Objection and Recommended Disposition

On or about March 27, 2020, Creditor filed a secured proof of claim in the amount of $143,388.30
and an arrearage in the amount of $1,907.22 for a mortgage on 10399 NW 128th Terrace Hialeah
Gardens, FL 33018-6008 with an account number ending in 0010. The Debtors assert that they are
current witht heir obligation to the Creditor and the Debtors’ plan calls for this claim to be paid
outside the bankruptcy and directly to the Creditor. Debtors request the claim be allowed as filed,
but deemed to be current as stated above, with no distribution from the Chapter 13 Trustee.
Furthermore, the Debtors request that no attorney’s fees and costs be attributed to the Objection to
Confirmation filed at ECF#26 since this claim is current and direct pay.
        I FURTHER CERTIFY that I have contacted opposing counsel in an attempt to resolve
these issues without a hearing. The undersigned acknowledges that this objection and the notice
of hearing for this objection will be served on the claimant and the debtor at least 14 days prior to
the confirmation hearing date and that a certificate of service conforming to Local Rule 2002-1(F)
must be filed with the court when the objection and notice of hearing are served.

DATED: June 1, 2020                                   Respectfully Submitted:
                                                      Robert Sanchez, P.A.
                                                      355 West 49th Street
                                                      Hialeah, FL 33012
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